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From                                                               Brown        Vallie         ECN
Sent                                                             Wednesday                     December 6 2017 10 32                    AM
To                                                                 Dr      Ernest    Bates


Subject                                                            FW       Fillmore Heritage                Center

Attachments                                                        Fillmore Heritage                  Center    PMP           FINAL     12 715     pdf     Remnant           Parcels      PMP     FINAL

                                                                   127 15 p d        f




Hi    Dr Bates


Here     is   the   information you requested                              regarding            the   remnant parcel next to the Fillmore Heritage Center That property

and the garage              is   in   OCII       property portfolio

Hilde    Myall from OCII                is   the       person to contact                 if
                                                                                               you have       any questions             regarding       these items Her contact                    information

is   at the    bottom of           this      email



Regarding the              air   rights to build              up     it   would     have         to   go through            the   planning     process and work with the condo owners
at the    Fillmore Heritage                     Center



Let   me know         if
                           you have              any other questions



Happy holiday
Vallie




From Myall            Hilde        CII
Sent     Monday December 04 2017 125 PM
To Brown            Vallie       ECN         vallie brown



Subject Fillmore Heritage Center



Hi Vallie

Just following             up on the items               we     discussed at our meeting                           I   am     summarizing below OCII's goals requirements                                 for

disposition of             both       FHC       and the       Ellis       Street   driveway            parcel          Any    interested       parties    would       want     to refer to OCII           PMP   for

each     property attached                        Please       let        me know         if   there    is
                                                                                                             anything else you need



              As mentioned                 in    the   Fillmore Heritage                  Center RFP           the Office          of   Community         Infrastructure            and Investment           as

              the   Successor              Agency        to   SFRA         OCII                currently      owns          the   Commercial Parcel            and master leases the entire

              50 000 square                feet    to the      City OCII also currently owns the Garage Parcel State                                              law requires OCII to transfer the

              property under                 a   Long     Range           Property Management                          Plan   PM P        approved         by the California Department of

              Finance            For the         Commercial Parcel                   the        PM    P requires that             1   the City   enter into a Compensation                       Agreement
              with certain taxing entities and                              2      the    repurposing of the parcel serve as                        a    catalyst     to the        revitalization of the

              Fillmore Street corridor                        and the creation                  of   employment opportunities                    for the       community             For the      Garage

              Parcel        the       PM   P requires that the                 garage continue                to       serve the general          public       OCII   will    transfer         ownership of

              both parcels to the City prior to the City's sale and conveyance                                                        of the    Property          OCII's     PM     P for the     Fillmore


              Heritage           Center property               is    attached



              The    Ellis       Street      driveway parcel Block 0725 Lot 026                                        is   owned by OCII The             Ellis   Street parcel           is   not part of the

              City's Fillmore Heritage                        Center RFP offering However OCII's plans for the                                          site   are to   sell   it   for   fair   market value



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         More information about the      site   and OCII's plans for disposition are outlined   in   their PIVIP   The relevant   section

         is   attached



Thanks
Hilde




   One South Van Ness Avenue      5th Floor

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   wvvw sfocii o




                                                                                                            CCSF-SHIFERAW-015599
